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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

Case No. J (JEB)

Under Seal

IN RE GRAND JURY SUBPOENA

EX PARTE TO GOVERNMENT AND
PENCE ONLY

 

 

MEMORANDUM OPINION

Despite derision from occupants like John Adams and John Nance Garner, the Vice
Presidency of the United States plays an important role in our constitutional structure. And the
office sits at the center of today’s privilege dispute. Former Vice President Michael R. Pence has
filed a Motion to Quash a grand-jury subpoena requiring him to testify about matters related to
the 2020 Presidential election and its aftermath, including the events of January 6, 2021. He
contends that the Constitution’s Speech or Debate Clause shields his testimony. The Court holds
that, while the Clause does apply to the Vice President, it does not cover the vast majority of
what the Special Counsel seeks to ask him about. The Court will thus largely deny the former
Vice President’s Motion.
I, Background

A federal grand jury in the District of Columbia has been investigating whether any
person or entity unlawfully interfered with the transfer of power following the 2020 election.
See Press Release, Dep’t of Just., Appointment of Special Counsel (Nov. 18, 2022),
https://www .justice.gov/opa/pr/appointment-special-counsel-0. The Court need not go into the

particulars of that investigation, as former Chief Judge Beryl Howell has canvassed them in great

ceil. Soc,
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Pence

had presided over the joint session of Congress during which the House and Senate received

electoral ballots cast in the 2020 Presidential election. In connection with that role,

In response, the former Vice President has filed this Motion to Quash. See ECF No. 5
(Motion to Quash). He argues that the Speech or Debate Clause of the United States
Constitution shields his testimony because several lines of questioning implicate protected
legislative acts. See U.S. Const. Art. I, § 6, cl. 1; Mot. at 1-2. The Government opposed the
Motion, see ECF No. 13 (Opp.), and the Court heard argument on March 23, 2023. See Minute
Entry of Mar. 23, 2023.

Il. Legal Standard

The Supreme Court has made clear that “[a] grand jury may compel the production of
evidence or the testimony of witnesses as it considers appropriate, and its operation generally is
unrestrained by the technical procedural and evidentiary rules governing the conduct of criminal
trials.” United States v. R. Enters., Inc., 498 U.S. 292, 298 (1991) (internal quotation marks
omitted). “[T]he law presumes, absent a strong showing to the contrary, that a grand jury acts
within the legitimate scope of its authority,” and thus “a grand jury subpoena issued through
normal channels is presumed to be reasonable, and the burden of showing unreasonableness must
be on the recipient who seeks to avoid compliance.” Id. at 300-01. The grand jury may seek

information from “widely drawn” sources, and the duty to testify has been long recognized “as a
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basic obligation that every citizen owes his Government.” United States v. Calandra, 414 U.S.

338, 345 (1974); see also id. (noting “citizens generally are not constitutionally immune from

 

grand jury subpoenas and that the longstanding principle that the public has a right to every
man’s evidence is particularly applicable to grand jury proceedings”) (quoting Branzburg v.
Hayes, 408 U.S. 665, 682, 688 (1972)) (alterations and internal quotation marks omitted).

“The investigatory powers of the grand jury are nevertheless not unlimited,” but subject
to constraints imposed by Federal Rule of Criminal Procedure 17(c), “which governs the

issuance of subpoenas duces tecum in federal criminal proceedings.” R. Enters., Inc., 498 U.S. at

 

299; see Calandra, 414 U.S. at 346 (observing that “the grand jury’s subpoena power is not
unlimited”). This rule provides that, on motion, “the court may quash or modify the subpoena if
compliance would be unreasonable or oppressive.” Fed. R. Crim. P. 17(c)(2). A grand jury
“may consider incompetent evidence, but it may not itself violate a valid privilege, whether
established by the Constitution, statutes, or the common law.” Calandra, 414 U.S. at 346.
“Judicial supervision is properly exercised in such cases to prevent the wrong before it occurs.”
Id.

Til. Analysis

Pence’s Motion raises a novel constitutional question: does the Speech or Debate Clause
apply to the Vice President, and, if so, what acts does it cover? Based on Supreme Court and
D.C. Circuit analysis, this Court holds that it does apply. The Court nevertheless also concludes
that the Clause shields the former Vice President from only a few narrow lines of questioning.

He must otherwise appear and testify.

A. Legal Framework

The Speech or Debate Clause of the United States Constitution provides:
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The Senators and Representatives shall receive a Compensation for
their Services, to be ascertained by Law, and paid out of the
Treasury of the United States. They shall in all Cases, except
Treason, Felony and Breach of the Peace, be privileged from Arrest
during their Attendance at the Session of their respective Houses,

and in going to and returning from the same; and for any Speech or
Debate in either House, they shall not be questioned in any other

Place.

U.S. Const. Art. I, § 6, cl. 1 (emphasis added),

The Clause serves dual linked purposes. First, it protects the separation of powers.
United States v. Johnson, 383 U.S. 169, 178 (1966) (noting Clause “reinforc[es] the separation of
powers so deliberately established by the Founders”). Second and more specifically, it preserves
legislative independence. That is, it ensures that Congress may “independently” perform the
“legislative function the Constitution allocates to” it. Eastland v. U. S$. Servicemen’s Fund, 421
U.S. 491, 502 (1975) (collecting cases), The Supreme Court has “[w]ithout exception .. . read
the Speech or Debate Clause broadly to effectuate [those] purposes.” Id. at 501.

To serve those aims, the high court has long construed the Clause to protect more than
just a Member’s specch in legislative session. Kilbourn v. Thompson, 103 U.S. 168, 204 (1880)
(recognizing Clause applies beyond “words spoken in debate” to things like “written reports,”
“resolutions,” “voting,” and other “things generally done in a session of the House by one of its
members in relation to the business before it”). It has read the Clause broadly to protect all
“legislative acts” a Member might perform. Gravel y. United States, 408 U.S. 606, 625 (1972)
(formatting modified); see also United States v. Brewster, 408 U.S. 501, 512 (1972). The Court
has elaborated that activities are protected “legislative acts” if they are “an integral part of the
deliberative and communicative processes by which Members participate in committee and
House proceedings with respect to the consideration and passage or rejection of proposed

legislation or with respect to other matters which the Constitution places within the jurisdiction
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of either House.” Gravel, 408 U.S. at 625. Examples of legislative acts include speaking on the
floor, introducing and voting on bills, preparing committee reports, and participating at
committee hearings. See Doe v. McMillan, 412 U.S. 306, 311 (1973); Gravel, 408 U.S. at 625-

26; Johnson, 383 U.S. at 184-85.

 

Not every task a legislator preforms, however, will qualify as a legislative act. The Court
“has repeatedly insisted that the Speech or Debate Clause is subject to ‘finite limits.”” McSurely
v. McClellan, 553 F. 2d 1277, 1285 (D.C. Cir. 1976) (quoting Doe, 412 U.S. at 317). Because
nearly everything legislators do has some nexus to legislation, the Court has feared that a broadly
sweeping rule would turn Senators and Representatives into “super-citizens.” Brewster, 408
U.S. at 516. It accordingly has emphasized that the Clause does not shield legislators from
“inquiry into activities that are casually or incidentally related to legislative affairs but not a part

of the legislative process itself.” Id. at 528; see also Gravel, 408 U.S. at 625 (“That [Members]

 

 

generally perform certain acts in their official capacity as [Members] does not necessarily make
all such acts legislative in nature.”). Examples of unprotected conduct include political
activities, such as making public speeches, sending newsletters, and publishing books, or
lobbying executive-branch agencies on behalf of constituents or otherwise. See Doe, 412 U.S. at
315-16; Gravel, 408 U.S. at 625-26; Brewster, 408 U.S. at 512. In all cases, the touchstone is
whether something is so “integral” to the legislative process that it is properly considered a
“legislative act.” Gravel, 408 U.S. at 625.

One contested boundary concerns the extent to which the Clause protects a legislator’s
preparatory communications; in other words, which types of preparations are so “integral” to
Members’ actions in the body as to themselves qualify as covered legislative acts? A version of

this question, regarding whether the Clause protects “informal legislative fact-finding by
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individual members of Congress,” is currently pending before the D.C. Circuit. In re Sealed
Case, No. 23-3001 (D.C. Cir. Feb. 16, 2023) (per curiam order). For present purposes, this
Court notes two types of preparatory acts that the Supreme Court has definitively held do not
qualify. First, it has concluded that accepting a bribe in advance of a floor vote is not a
legislative act. Brewster, 408 U.S. at 526 (“Taking a bribe is, obviously, no part of the
legislative process or function; it is not a legislative act. It is not, by any conceivable
interpretation, an act performed as a part of or even incidental to the role of a legislator.”).
Second and relatedly, the Supreme Court has held that “[p]romises by a Member to perform an
act in the future are not legislative acts.” United States v. Helstoski, 442 U.S. 477, 489 (1979).
In determining to whom the privilege applies, the key question is the nature of “the act
presented for examination, not the actor.” Walker v. Jones, 733 F.2d 923, 929 (D.C. Cir. 1984).
Our high court has accordingly read the Clause as applying beyond just the “Senators and
Representatives” its text mentions. See Gravel, 408 U.S. at 617 (rejecting “literalistic approach”
to Clause’s text). The Clause today also protects Members’ personal staff, id. at 616-17, as well

as committee staff and other legislative aides. See Eastland, 421 U.S. at 507; Doe, 412 U.S. at

 

309; see also Rangel v. Bochner, 785 F.3d 19, 24—25 (D.C. Cir. 2015).

 

Where it applies, the Clause provides “three distinct protections.” Howard v. Off. of
Chief Admin. Officer of U.S. House of Representatives, 720 F.3d 939, 946 (D.C. Cir. 2013).
First, it grants Members civil and criminal immunity for their legislative acts. Eastland, 421 US.
at 503, 510-11. Second, it contains an evidentiary privilege barring use of legislative-act
evidence against a Member. Helstoski, 442 U.S. at 487. Third, and most relevant here, it creates
a testimonial privilege guaranteeing that Members “may not be made to answer” questions about

their legislative acts. Gravel, 408 U.S. at 616. In the D.C. Circuit, this testimonial privilege also
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includes a broader non-disclosure privilege that prevents the Executive from reviewing
privileged materials without the Member’s consent. United States v. Rayburn House Off. Bldg.,
Room 2113, Washington, D.C. 20515, 497 F.3d 654, 663 (D.C. Cir. 2007).

B. General Application to the Vice President

So, at the end of the day, is the Vice President ever covered or not? Under the Supreme
Court’s functional analysis, that task requires the Court to decide whether he performs any
“legislative acts” that the Clause would cover. Drilling down, the Court must assess whether the
Vice President (1) participates in any “matters which the Constitution places within the
jurisdiction of cither House”; and, if so, (2) whether any of his acts form “an integral part of the

deliberative and communicative processes” by which he participates in those matters. Gravel

 

408 U.S. at 625.

The answer to both questions is yes. First, the Constitution vests the Vice President with
specific roles in the legislative process. It directs that he “shall be President of the Senate,” with
the power to cast tiebreaking votes in that chamber. See U.S. Const. Art. I, §3, cl. 4. It also
instructs that he presides over Congress’s counting of the electoral votes in a joint session. Id.,
amend. XII; see 3 U.S.C. § 15. Each role constitutes participation in matters that the
Constitution places beneath the legislative umbrella.

Second, the Vice President unquestionably takes actions that form “an integral part of the
deliberative and communicative processes” when he participates in those matters. Perhaps most
clearly, as mentioned above, he votes when the Senate is deadlocked. And, as relevant here, in
his presiding role in the electoral certification process, the Vice President opens the electoral-
vote certificates, announces the vote tally, calls for objections, and otherwise oversees logistics

on the floor. See 3 U.S.C. § 15 (explaining these tasks), Past Vice Presidents have performed
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additional related tasks as well, such as recognizing Members and ensuring that objections take
the proper form. See Cong. Res. Serv., RL32717, Counting Electoral Votes: An Overview of
Procedures at the Joint Session, Including Objections by Members of Congress (updated Dec. 8,
2020), at 5. Pence in fact lists in his Reply a series of such acts that he performed during the
January 6th joint session. See ECF No. 15 (Reply) at 10 n.1 (describing tasks including calling
chamber to order, recognizing Members, ruling on objections, ordering adjournment of chamber,
and declaring the final vote). Those tasks are all integral to the operation of the electoral-
certification session. Under the Supreme Court’s functional analysis, then, the Clause applies to
the Vice President during his performance of certain acts. The Court in Section II.C below
addresses the more difficult question of whether the testimony sought pertains to acts integral to
the Vice President’s legislative functions.

1. Government's Counterarguments

The Government’s counters are unpersuasive. First, it swings big: it contends that the
Clause cannot apply to the Vice President at all because he sits in the executive branch, not the
legislative branch. See Opp. at 1. This is a formalistic argument based on the actor, not the act.
But see Walker, 733 F.2d at 929 (requiring opposite). The argument also fails on its own terms
because the Vice President is a creature of both Article I and Article II — a hybrid legislative
and executive actor.

Courts have not had frequent occasion to comment on the Vice President’s constitutional
locus, but the Office of Legal Counsel has repeatedly emphasized the role’s duality. Ina
memorandum about the scope and limits of his ability to participate in executive-branch
business, OLC described the role this way: “Perhaps the best thing that can be said is that the

Vice President belongs neither to the Executive nor to the Legislative branch but is attached by
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the Constitution to the latter.” Participation of the Vice President in the Affairs of the Executive
Branch, | Op. O.L.C. Supp. 214, 222 (1961). Eight years later, then-Assistant Attorney General
William Rehnquist echoed the sentiment in a memorandum about whether the Vice President
could be appointed to an independent commission. He there observed that “[f]or some purposes”
the Vice President “is an officer of the Legislative Branch,” and he concluded that “the Vice
President has now assumed a particular place in Government in which his status may be
characterized as Legislative or Executive depending on the context.” Memorandum from
William H. Rehnquist, Advisory Commission on Intergovernmental Relations (Feb. 7, 1969) at
2; see also Roy E. Brownell II, A Constitutional Chameleon: The Vice President’s Place within
the American System of Separation of Powers, 24 Kan. J.L. & Pub. Pol’y 1, 4-5 (2014). The
analytic through-line is that the Vice Presidency is a dual executive and legislative office.

This Court takes the same view. Consistent with this logic, it concludes that the Vice
President qualifies as a legislative actor in certain circumstances. See U.S. Const. Art. I, § 3.
The Government’s structural argument thus not only adopts the wrong analytic framework but
also rests on an incorrect view of the nature of the Vice Presidency.

The Government’s contentions related to the purpose of the Clause are unavailing for the
same reason. They assume that the Vice President is solely an executive-branch actor and thus
has no need for independence from that branch. As just discussed, however, the Court disagrees
with that characterization. The Vice President has a legislative role and while serving in that
capacity has constitutional breathing room from the President. Indeed, the Constitution does not
provide for a mechanism by which a President may remove a Vice President. It thus does serve

separation-of-powers values to shield a Vice President acting in a legislative role from executive

and judicial inquiry.
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The Government also contends that, textually, the Vice President is not a “Senator or
Representative” within the meaning of the Clause. See Opp. at 17, It concedes that Gravel has
extended the Clause beyond its text to reach Members’ staff because such staff act as the “agent
or assistant of a sitting Senator,” but it argues that because the Vice President is not such an
agent, the Clause does not cover him. See Opp. at 18. Gravel was not so limited. The Clause
has subsequently been read to cover all manner of legislative actors, including those who work
for committees or for the chamber as a whole. See, e.g., Eastland, 421 U.S. at 507. The Court

declines to be the first in generations to force a literal reading of the Clause’s text. Finally,

As a fallback position, the Government urges that, even if the Vice President does enjoy
the privilege, he holds a weaker form of it. The Government suggests in particular that the
privilege covers the Vice President’s conduct only within the four walls of the Capitol but yields
elsewhere. Sce Opp. at 20-22. This too lacks basis. The Supreme Court has repeatedly
instructed that the privilege where it applies is “absolute.” Eastland, 421 U.S. at 503. And the
Government offers no persuasive reason to depart from that analysis and create from whole cloth
a diluted form of the privilege just for the Vice President.

As a corollary, the Government adds that, again assuming the privilege applies to the
Vice President, none of his conduct here is covered because his role at the joint session was
purely ceremonial. See Opp. at 27. In other words, while he may be more fully cloaked with the
privilege when casting a tiebreaking vote, the same is not true for his role on January 6. For this

largely ministerial role, the Government contends, any available privilege would be weaker.

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There is more force in this position, but the Court finds an act-by-act review, which bears in
mind the narrowness of the former Vice President’s role, to be more prudent than announcing a
sliding scale that adjusts the strength of the privilege depending upon the type of role he is
performing.
2. Vice President's Proposed Extension

The former Vice President, for his part, seeks a broader rule. He suggests that conduct
“arising from the legislative sphere” is protected, which includes “communications with persons
outside the legislative branch concerning legislative activity.” Mot. at 4,7. He accordingly
seeks a capacious holding that everything that he characterizes as “preparations” preceding
January 6th is covered by the Clause. This proposal would vastly expand the reach of this
provision. Acts only “incidentally related to legislative affairs” do not qualify for its protections.
Brewster, 408 U.S. at 528. A “nexus to legislative functions” is not enough; conduct is not
protected if it is merely “relating to,” as opposed to “part of,” the “due functioning of the
legislative process.” Id. at 515-16, 528. The Clause, in sum, requires a tighter connection than
the former Vice President suggests between his January 6th functions and any purportedly

protected conversations.

The Speech or Debate Clause accordingly covers the Vice President in certain
circumstances — that is, when he performs acts integral to a legislative function. The Court’s
task then becomes to determine which of his actions around the January 6th certification fall into

that category. It turns there now.

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C. Application Here
The Office of Special Counsel has identified [topics on which it seeks to question

Pence. Many on their face have nothing to do with his role in the January 6th certification

process and have no ostensible connection to any other legislative function. Pre |

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Recall that the Clause protects only “legislative acts,” which are matters “integral” to a

constitutionally or statutorily prescribed legislative function. Gravel, 408 U.S. at 625. Acts that

 

are “political in nature rather than legislative” are not protected. Brewster, 408 U.S. at 512.
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a The Court’s task, accordingly, is to delineate which of i i  _

the Clause protects and which it does not. It will begin with a discussion of the

   

principles set out in Brewster and Helstoski and then apply the law to these topics.
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|. Preparation versus Exhortation to Commit Unlawful Act

As the Court recognized earlier, the general question of which sorts of preparatory
conversations are legislative acts that the Clause shields is close, contested, and currently on
appeal. The Supreme Court’s cases, however, provide a clear path through the thicket that we
encounter here. They hold that the Clause does not protect conversations whose principal
function is to exhort a legislator to act unlawfully or ultra vires, meaning beyond the bounds of
the legislator’s lawful authority. Because such conversations are not integral to the performance
of a legislative function, they are not legislative acts and thus not covered,

That rule follows from the Court’s decisions in Brewster and Helstoski. In Brewster, the
Court held that the Clause did not protect Senator Daniel Brewster from prosecution for taking a
bribe prior to voting for a bill. Notably, the Court could have but did not hold that the
conversation in which the bribe occurred was preparatory to the performance of a legislative act
and so categorically beyond reproach. Instead, it embraced a broader proposition: where the
legislator was being asked to do something unlawful, the conversation in which that unlawful
request occurred was not appropriately viewed as preparation for the vote. That conversation
was thus not a legislative act and so not shielded by the Clause, even if Senator Brewster’s
ultimate vote and his corrupt reasons for it would be. Brewster would have come out the other

way were it otherwise. See also Hr’g Tr. (Mar. 23, 2023) at 34:10—-12 (Counsel for former Vice

 

President: “In Brewster, the Court is clear that the conversation that Brewster engaged in was no
part of a legislative act.”).

From there, it is an easy extrapolation that Brewster’s rule concerning illegal behavior
applies equally to conversations seeking other u/fra vires actions, as neither is integral to

performance of a legislative function. It also applies equally regardless of whether the Member

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bows to the pressure or not because the Member’s ultimate act does not bear on whether the
conversation was objectively integral preparation. All told, Brewster reflects the commonsense
proposition that the Clause does not protect conversations whose principal purpose is to convince
a Member to do something the Member cannot lawfully do.

Helstoski reflects this principle as well. In that case the Court held that, for admissibility
purposes, “[p]romises by a Member to perform an act in the future are not legislative acts.” 442
U.S. at 489. Read for all it is worth, that case could suggest a broad rule that the Clause protects
no conversations regarding future legislative acts. But taken in concert with Brewster, the better
view is that the Clause does not, at a minimum, shield attempts to extract promises to act
unlawfully or u/tra vires — in other words, efforts to exhort a legislator to act in ways the
legislator cannot.

This rule also comports with Gravel and other precedent. The Clause protects only acts

 

“integral” to a legislative function. Gravel, 408 U.S. at 625. Certain preparatory acts are surely

 

integral to a Member’s subsequent performance — drafting a speech before speaking on the
floor, preparing legislative text before introducing a bill, and the like. But it is in no way
preparatory, much less integrally so, for a Member to be asked to do something illegal or outside
her lawful authority. Such a request does not conceivably aid a Member in deciding how to
perform a constitutional function such as introducing legislation, speaking, or voting. Those
conversations therefore are not legislative acts, and so the Clause does not shield them.
Conversations about ultra vires action are thus far removed from harder issues, (a
ee hich concern to what extent the Clause protects
Members when they conduct various types of informal factfinding. Those questions turn on

competing views of whether certain preparations were so critical to the performance of an

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ultimate legislative function that they should be protected, too. Here, by contrast, Brewster
offers the sensible and workable rule that conversations are not preparatory where their principal
function is to urge acts that are unlawful or exceed a Member’s authority.
2. Application to Particular Conversations

Having set out the ground rules, the Court may now get down to business. It assesses
specifi 1s
In order to provide guidance to the parties going forward, it notes several areas within those
categories that the privilege does or does not cover.

a. Not Covered

The bottom line is that conversations exhorting Pence to reject electors on January 6th are
not protected. They fall under Brewster’s rule that communications urging a legislator to act
unlawfully or ultra vires are not preparatory — or at most are only incidentally so — to a

legislative function.

There is no dispute in this case that Pence lacked the authority to reject certified electoral

as Pence described in his book, he “never believed that the vice president’s role [on January 6th]

was anything more than ceremonial.” Opp., Exh. S (excerpts from So Help Me God) at 434.
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Second, the former Vice President’s rule would be far too broad. It would protect any

conversation that served in any part, even if only incidentally, to educate a legislator on a matter

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before him. That rule would cover any conversation with anybody with an opinion.
Appearances at town-hall debates or on talk shows could equally well expose a Member to
counterarguments she might face on the floor. Under the former Vice President’s rule, it seems
all would be covered. That cannot be the rule. See, ¢.g., Brewster, 408 U.S. at 528 (Clause does
not cover activities only “incidentally related to legislative affairs”). Instead, the touchstone is
whether these conversations were integral to the Vice President’s performance of his legislative
duties. The Court holds that they were not. Their objective role in preparing him to perform his

self-admittedly ceremonial duties was incidental at best and certainly not integral.

The Government consequently may question Pence abou
 » <2 a <: not integral to his performance of his

legislative function on January 6th.
b. Covered

By contrast, the Court notes two areas of preparation that it finds are protected by the
Clause because they were integral to the former Vice President’s performance of his legislative
duties,

First, the Clause covers Pence’s speech on the floor of the Senate that day and his
precedent acts in which he directly prepared those remarks. As part of his constitutionally and
statutorily prescribed functions, Pence announced aloud each slate of electors as they were
delivered to and opened on the floor. The former Vice President described working with the
Parliamentarian of the Senate to adjust the wording of that announcement. So Help Me God at

449, That announcement constituted a formal legislative act, and its direct preparation was

integral ois perforce, es

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Second, the Clause covers internal staff advice between Pence and his aides that directly
advised the former Vice President on the scope of his authorities on January 6th. Pence
described how, shortly after the election, he asked his chief counsel to write a memorandum
advising him on his authorities and responsibilities that day. So Help Me God at 433-34. That
memorandum constitutes preparation that was integral to Pence’s performance of his role on

January 6th, and so it is covered as well.
* * &

The privilege the Court applies today is “broad enough to insure the historic
independence of the Legislative Branch” but “narrow enough to guard against the excesses of
those who would corrupt the process by corrupting its Members.” Brewster, 408 U.S. at 525.
The Court’s holding thus shields acts integral to the former Vice President’s performance of his
legislative function, but not those that were unrelated to or only incidentally preparatory for
those functions. That, the Court believes, is the proper balance.

IV. Conclusion
For the foregoing reasons, the Court will deny in large part the former Vice President’s

Motion to Quash. A separate Order so stating will issue this day.

/s| James E. Boasberg
JAMES E. BOASBERG
Chief Judge

Date: March 27, 2023

 

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